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                                   STATEMENT OF FACTS

        Your affiant, Brian Hedgecock, is a Task Force Officer with the Federal Bureau of
Investigation (FBI). I have been a Task Force Officer with FBI since July 2020. I serve in this
capacity as a Technical Trooper for the Kansas Highway Patrol. I am presently assigned to the
Kansas City Division working in the Wichita Residence Office (WRA). I have been a certified
Peace Officer in the State of Kansas for 24 years. Currently, I am tasked with investigating criminal
activity in and around the Capitol grounds on January 6, 2021. As a Task Force Officer, I am
authorized by law or by a government agency to engage in or supervise the prevention, detection,
investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway, and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.



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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                                    Identification of CHAD SUENRAM

       The FBI first assessed that CHAD SUENRAM participated in the Capitol Riot on January
6, 2021, through geolocation data. According to records obtained through legal process, the FBI
learned that a mobile device associated with the Gmail user account
newlookcompanies@gmail.com was present inside and immediately outside the U.S. Capitol on
January 6, 2021, between approximately 2:43 p.m. and 4:09 p.m. The affiant reviewed search
warrant results and learned that on January 5, 2021, a user with a cellular phone associated with
the newlookcompanies@gmail.com account travelled from Wichita, Kansas to Washington D.C.,
and returned from Washington D.C. on January 7, 2021. Search warrant returns also showed that
the same mobile device was located at a private bus charter company in Wichita, Kansas the
morning of January 5, 2021. Through open sources, the affiant learned that SUENRAM travelled
to Washington, D.C. on January 5 with that private charter company.

        An open-source search indicates the newlookcompanies@gmail.com account is associated
with New Look Companies Landscaping LLC. Additional open-source searches show SUENRAM
is one owner of that company.

        The FBI ran biometric facial recognition software on photographs and video footage taken
on January 6, 2021, and results showed that SUENRAM was at the U.S. Capitol on January 6,
2021. In the photographs, SUENRAM had a painted American flag on the right side of his head,
just above his ear. SUENRAM was wearing a long-sleeved black hoodie with a black t-shirt over
the hoodie. The black t-shirt had “USMC” on the front and back in red letters and the back also
displayed a metallic eagle. Photographs taken outside the U.S. Capitol building showed
SUENRAM with a plastic facemask lifted while he poured water on his face. The plastic facemask
was decorated like the U.S. flag.




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Images 1-3: Images taken from Jan. 6, 2021 show SUENRAM outside the U.S. Capitol building
                          with his face mask temporarily removed.




Image 4: On January 6, 2021, SUENRAM wore a painted American flag facemask and had an
                   American flag painted on the right side of his head.




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        On July 12, 2022, two FBI agents, including this affiant, contacted SUENRAM at his
residence in Wichita, Kansas. The agents spoke with SUERNAM for roughly 10 minutes about
the investigation. SUENRAM declined to be interviewed at that time, and told agents he intended
to retain an attorney. Both agents confirmed that the photos of SUENRAM captured in this
investigation are a positive match with the SUENRAM that was met at the residence.

                        SUENRAM’S Involvement in Events of January 6, 2021

        The affiant also reviewed CCTV footage of the U.S. Capitol from January 6, 2021. United
States Capitol Police (“USCP”) images and surveillance footage captured SUENRAM outside the
U.S. Capitol prior to entry, and his entry into the U.S. Capitol building. Observation of USCP
CCTV footage shows SUENRAM entered the U.S. Capitol through the Senate Fire Door at
approximately 2:45 p.m. and walked straight ahead down a hallway. Roughly nine minutes after
entering, SUENRAM was again captured in CCTV footage as part of a large crowd being forced
out of the U.S. Capitol through the same door he entered.




         Image 5: Screenshot of USCP CCTV footage shows SUENRAM first entering the U.S.
                           Capitol through the Senate Fire Door.




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                Image 6: Screenshot of USCP CCTV footage shows SUENRAM exiting
                           the U.S. Capitol through the Senate Fire Door.

       The affiant reviewed other CCTV that showed SUENRAM entered the U.S. Capitol a
second time through the Senate Wing Door at approximately 3:05 p.m. The affiant also reviewed
video footage captured on mobile devices of others persons present inside the U.S. Capitol on
January 6. This footage shows SUENRAM walking through the Crypt before joining a group that
was yelling “USA, USA,” all the while filming the events on his phone.




          Image 7: Screenshot of USCP CCTV footage shows SUENRAM re-entered the U.S.
                           Capitol through the Senate Wing Door.




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           Image 8: Screenshot of footage taken by a rioters on January 6 shows SUENRAM
                                  walking through the Crypt.

        The affiant observed SUENRAM within the U.S. Capitol on other USCP camera footage
and saw that SUENRAM eventually exited through the South Door Vestibule after spending
approximately 25-27 minutes inside the U.S. Capitol. The affiant further observed SUENRAM on
exterior USCP CCTV footage walking away from the U.S. Capitol towards the north. However,
rather than exit Capitol grounds after his two entries, at roughly 3:40 p.m., SUENRAM positioned
himself in front of a mob that had gathered outside the North Door and was confronting police
officers. After repeated attacks by the mob, police officers retreated inside the U.S. Capitol
building. SUENRAM kept his place at the front of the mob, and even after the officers’ retreat
inside the building, SUENRAM stood directly in front of the North Door for several minutes,
filming and cheering as police officers deployed tear gas in an attempt to clear the area.
SUENRAM remained a few feet away from the North Door as other rioters tried to use a bike rack
and other objects to force entry into the building.




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Image 9: Suenram joined the front of a mob at the North Door that tried to force its way into the
                                        U.S. Capitol.




 Images 10 - 11: After officers retreated into the U.S. Capitol building and made efforts to clear
            the North Door area, SUENRAM remained directly in front of the door.

       Based on the foregoing, your affiant submits that there is probable cause to believe that
SUENRAM violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; and (2)

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knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; or attempts or conspires to do so.
For purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off,
or otherwise restricted area of a building or grounds where the President or other person protected
by the Secret Service, including the Vice President, is or will be temporarily visiting; or any
building or grounds so restricted in conjunction with an event designated as a special event of
national significance.

        Your affiant submits there is also probable cause to believe that
SUENRAM violated Title 40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully
and knowingly; (D) utter loud, threatening, or abusive language, or engage in disorderly or
disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent
to impede, disrupt, or disturb the orderly conduct of a session of Congress or either House of
Congress, or the orderly conduct in that building of a hearing before, or any deliberations of, a
committee of Congress or either House of Congress; and (G) parade, demonstrate, or picket in any
of the Capitol Buildings.



                                                     _________________________________
                                                     Brian Hedgecock
                                                     Task Force Officer
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 6TH day of July 2023.
                                                                      Zia M. Faruqui
                                                                      2023.07.06 16:19:23
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                                                     ___________________________________
                                                     ZIA M. FARUQUI
                                                     UNITED STATES MAGISTRATE JUDGE




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